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                      LETTER MOTION TO WITHDRAW AS COUNSEL

                                                                  September 23, 2021
chambersnysdseibel@nysd.uscourts.gov
Honorable Cathy Seibel
The Hon. Charles L. Brieant Jr.
Federal Building and United States Courthouse
300 Quarropas Street
White Plains, NY 10601-4150

                                Re:     United States v. Mehdi Moslem et al.,
                                        19 Cr. 547 (CS)
Dear Judge Seibel:

        As the Court is aware, I represented Mehdi Moslem at a trial in this matter and during
several post-conviction bail hearings.

       Pursuant to Southern District of New York Local Rule 1.4, I respectfully submit this letter
motion to formally withdraw as counsel of record for defendant, Mehdi Moslem, in the above-
captioned matter.

        Based on a letter forwarded to me by the Parlatore Law Group, LLP today, from Mehdi
Moslem, dated September 23, 2021, I have been informed for the first time by Mehdi Moslem that
he no longer wishes me to represent him, and that he has retained the Parlatore Law Group, LLP.
Accordingly, I respectfully request that the Court grant my motion to withdraw as counsel of record
for Mehdi Moslem, and waive my appearance for Monday, September 27, 2021.

       I greatly appreciate Your Honor’s time and consideration in this matter, and should the
Court need any further information I am available at the Court’s convenience.

                                                                  Respectfully Submitted,



                                                                  MATIN EMOUNA
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